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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF KENTUCKY
                    CENTRAL DIVISION AT FRANKFORT

UNITED STATES OF AMERICA,            )
                                     )
     Plaintiff,                      )        Criminal Action No.
                                     )           3:08-cr-31-JMH
v.                                   )
                                     )
CHRISTOPHER CELLO SMITH,             )
                                     )    MEMORANDUM OPINION & ORDER
     Defendant.                      )

                      **      **     **     **     **


     This matter is before the Court on Defendant Christopher Cello

Smith’s Motion for Judgment of Acquittal [DE # 341].                The United

States has filed a Response [DE # 345], and Defendant Smith has

filed a Reply in further support of his Motion [DE # 358].                   The

Court being sufficiently advised, this Motion is ripe for decision.

     Defendant Christopher Cello Smith was charged with conspiracy

to commit mail and wire fraud (Count 1) and mail and wire fraud

(Counts 2-23) in the Indictment returned in this matter.                 During

the trial of this matter, he made an oral Motion for a Judgment of

Acquittal on July 6, 2010, at the close of the government’s

evidence as to a number of counts, including Count 17, and again on

July 8, 2010, at the close of all evidence.             He was denied relief

as to Count 17 on both occasions.         Relevant to the motion at bar,

the jury returned a verdict of not guilty on Count 1 but guilty on

Count 17 as to Defendant Smith on July 10, 2010.                  The present

Motion, by which he renews his Motion for Judgment of Acquittal,

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was filed on July 23, 2010, within the time set forth for same in

Fed. R. Crim. P. 29(c)(1).

     Count 17 of the Indictment alleges that Defendant Christopher

Cello Smith committed mail fraud based on a drilling permit for a

well known as Bell Co. # 1 that was received from the Commonwealth

of Kentucky by Kentucky Indiana Oil & Gas, an entity controlled by

Defendant Michael D. Smith, on June 12, 2007.                  The undisputed

evidence presented at trial was that the mailing of that permit

occurred more than eight months after Christopher Cello Smith

terminated his employment with Target Oil & Gas, on or about

October 6, 2006.     There was no evidence presented that Defendant

Smith played any role in seeking or obtaining the drilling permit,

soliciting investors for Bell County # 1, or otherwise participated

in any actions related to Bell County # 1.

     In its response, the United States correctly argues that the

Court may not review the verdict of guilty on Count 17 (mail fraud)

simply on the grounds that it seems inconsistent with the verdict

of not guilty on Count 1 (conspiracy to commit mail fraud), which

the Court declines to do. The Court may, however, consider whether

the evidence presented was insufficient to sustain a conviction on

Count 17 under Fed. R. Crim. P. 29.               In doing so, the Court

determines   whether,      “viewing   the   evidence     in   the   light   most

favorable to the government, any rational trier of fact could have

found the elements of the crime beyond a reasonable doubt.” United


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States v. Baggett, 251 F.3d 1087, 1095 (6th Cir. 2001) (quoting

United States v. King, 169 F.3d 1035, 1038-39 (6th Cir. 1999)).

      In order to find a defendant guilty of mail fraud alleged in

Count 17, the trier of fact must find that, among other elements,

the evidence demonstrated beyond a reasonable doubt that “the

defendant used the mail or a private or commercial interstate

carrier, or caused another to use the mail or a private or

commercial interstate carrier in furtherance of the scheme [to

defraud in order to obtain money or property by false or fraudulent

pretenses, representations, or promises].” [See DE # 316, Jury

Instruction No. 17.] The defendant must have “personally committed

or participated” in the crime or it must be shown that he was a

member of a conspiracy and, thus, “responsible for acts committed

by   the   other   members”   under   certain   conditions.       [Id.,    Jury

Instruction No. 19.]

      Even considering the evidence presented in the light most

favorable to the government, there has been no evidence presented

in this matter from which a rational trier of fact could find all

the elements of mail fraud alleged in Count 17 beyond a reasonable

doubt.     Specifically, there is no evidence that Defendant Smith

personally used or caused another person, including the permitting

authority, to use the mail or a private or commercial carrier in

furtherance of any scheme to defraud with regard to Bell County #

1.   Defendant Smith was no longer employed by Target Oil and Gas


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and was no longer soliciting investments on its behalf at the

relevant   time,   nor     did   he   participate   in   the   permitting     or

promotion of Bell County # 1.           Further, the jury concluded that

Defendant Smith did not participate in a conspiracy to commit the

mail fraud alleged in Count 17, as set forth in Count 1 of the

Indictment, nor is there any evidence that Defendant Christopher

Cello Smith participated in a second, uncharged conspiracy to

commit the mail fraud alleged in Count 17.                Defendant Smith’s

motion is well taken and shall be granted.

     Accordingly, IT IS ORDERED:

     (1)   that    Defendant     Christopher   Cello     Smith’s   Motion    for

Judgment of Acquittal [DE # 341] is GRANTED; and

     (2)   that the jury’s verdict of guilty on Count 17 as to

Defendant Christopher Cello Smith is SET ASIDE.

     This the 1st day of September, 2010.




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